                           UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                Case No.: 5:20-CR-418-1



UNITED STATES OF AMERICA              )
                                      )
              vs.                     )
                                      )                    ORDER TO SEAL
                                      )
KATHRYN SMITH WORLEY,                 )
                 Defendant            )


       Upon motion of the court appointed counsel, Myron T. Hill, Jr., for the above referenced

defendant, it is hereby ORDERED that Docket Number 41 be sealed until such time as requested to

be unsealed by Defense Counsel.



       This the     I~   day of   Ocfp~       ,2020.




                                                   Th Honorable James C. Dever III
                                                   United States District Court Judge




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